Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 1 of 21

1 IN THE UNITED STATES DISTRICT COURT

2 FOR THE DISTRICT OF MONTANA
3 MISSOULA DIVISION
4 VERLE R. VINSON and NORMA R.

VINSON, husband and wife, Cause No.
CV-98~-113 -M-DWM

Plaintiffs,
vs
W.R. GRACE & CO,.-Conn, a

8 Connecticut corporation, EARL D.
LOVICK and DOES I-IV,

9
Defendants.
10
11 VERLE R. VINSON and NORMA R. Cause No.
VINSON, husband and wife, CV-939-68-M-LBE
Plaintiffs,
13
vs
14

W.R. GRACE & CO.-Conn, a

15 Connecticut corporation, W.R.
GRACE & CO., a Delaware

16 corporation, W.R. GRACE, a/k/a
GRACE, an association of

Nene ee ee ee ee et ee ee ee ee ee ee eet et ee eee et ee ee ee ee et ee et et ee ee ee ee ee ee

1? business entities, MONTANA
VERMICULITE COMPANY, a Montana
18 corporation (dissolved), EARL D.
LOVICK and DOES I-Iiv,
19
Defendants.
20
21 VIDEO DEPOSITION
22 OF
23 VERLE R. VINSON
{On Behalf of the Plaintiffs)
24

Reported by Debra M. Hedman, RPR, RMR, and Notary
25 Public for the State of Montana, Flathead County.
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 2 of 21

1
2
3 Taken at the Venture Inn
443 Highway 2 West
4 Libby, Montana
Wednesday, December 15, 199
5 10:09 a.m. .
6
7
8 APPEARANCES
9
10 APPEARING ON BEHALF OF THE PLAINTIFFS:
11 John Lacey, Esq.
McGarvey, Heberling, Sullivan & McGarvey
12 745 South Main
Kalispell, Montana 59901
13
14
APPEARING ON BEHALF OF THE DEFENDANT:
15
Terry J. MacDonald, Esq.
16 David Berkoff, Esq.
Garlington, Lohn & Robinson, PLLP
17 P.O. Box 7909
Missoula, Montana 59807-7909
18
19 ALSO PRESENT:
20 (None}
21
22
23
24
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 3 of 21

11

when we got married.

Q At some point in there, did you work at
Zonolite?

A Yes. In 19 -- Summer of '48 until that
fall and then I went back again in the spring of '49
and I believe I was finished in January of '50, and
I never went back again.

Q What did you do after you left Zonolite

your second time?

A I went to work for J. Neils in the peeler
department.
Q Now, you mentioned that you also had some

body and fender school?

A Yes.

Q When was that?

A That was in '50 -- From November of '50 to
April of '51,

Q What was that for? Was it mechanic work?

A Well, I thought I wanted to be a body and
fender man, but it just didn't work out for me.

Q Did you spend a little time --

A I spent about a month trying it, but I
couldn't make any money.

Q What did you do after you decided you

‘weren't going to be a body man?
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 4of 21

13

1 company” ?

2 A J. Neils. That's what it was then.

3 Qo So how long did you work for J. Neils when
4 you settled down there the last time?

5 - AR Thirty-four years.

6 Q What kind of work did you do for them?

7 - OR Well, I fed a planer, run carrier, run

8 lift truck, run the peelers, checked poles, pulled
9 on the dry chain for 15 years, pulled on the green
10 chain. A little bit of everything.

11 Q. When did you retire?

12 A January of 1987.

13 Q And do you remember how old you were at
14 that time?

15 A Sixty-two.

16 Q Do you still have relatives who live in
17 Libby?

18... A Yes. . vee ae

19 Q Who are they?

20 A I've got two brothers and a sister and an
21 aunt that lives here.
22 Q Do you see them regularly?

23 A Oh, quite a bit.
24 Q I would like to talk specifically now

25 about the Zonolite experience, when you worked up
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 5 of 21

14
1 there. Do you remember what your first job was wher
2 you started that first time?
3 A Construction is about all I can say,
4 because then -- more like a labor pool and they put
5 you where they needed you.
6 Q Do you remember who you worked for?
7 : A Tom DeShazer.
8 Q Do you remember any specific jobs that you
3 did when you worked in that job?
10 A Well, we extended the waste belt a few
il feet. I think it was 50 to 100. I can't remember
12 for sure.
13 Q What do you mean when you -- what waste
14 belt?
15 A A waste belt takes the waste from the miil
16 and it was dumping it right on the ground. What
17 they did with it after that, I don't really know.
18 But I know we added on to the waste belt so it would
19 go out farther.
zo Q Do you remember other specific jobs that
21 you did when you were part of the labor pool?
22 A ‘Then I swept on the floors on the -- what
23 I could get of it. The bottom floor was the worst
24 because everything’ come down from the top.

25 Q What do you mean when you say you swept?
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 6 of 21

15

1 A Well, there's stuff on the floor. You

2 just swept it up. Just small dust and stufe.

3 Q Where was this?

4 A In the dry mill.

5 Q And how was your -- This is while you were
6 part of the labor pool?

7 A Yes.

8 Q You just had to sweep for part of it?

9 A Yeah, I believe I only done it for about a
10 week.

it Q Do you remember whether that was a dusty
12 job?

13 A Yes, it was.

14 Q Can you describe the dust conditions?

15 A Well, it was filtering down from the upper
16 floors, and I guess you raised a little bit when you
17. were sweeping.

. 18 Q What did your job consist off.” —

19 A Well, just going to where they needed me,
20 until I bid on the Lynn and then I drove Lynn for
21 two, three months. They got in Eucs, and then that
22 was the end of that job. So --

23 Q I would like to direct your attention to
24 this photo here. Is that --

25 A Yeah, that's a Lynn dumping into the
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 7 of 21

16
2 grizzly.
2 Q And what did that job consist of?
3 A Well, just going up and letting the shovel
4 operator go up and load you and bringing it back up
5 to the grizzly and dumping it. Unless you hada
6 load of waste which they took out of there with
7 their shovel, and you would take it over to the bank
8 and there was a dump boss there, he would back you
.9 up, and then you would raise your bucket and he
10 would dump it -- or, you raise your box.
il . Q Do you remember whether that was a dusty
12 job?
13 A Sometimes.
14 Q What do you mean "sometimes"?
15 A Well, if the wind was blowing. It wasn't
16 too bad in the cab of the truck, unless you had your
17 window down. Of course, like I say, I drove mostly
-.. 18. .. in the.fall and part of the winter... ..
19 Q So your window was up most of the time?
20.—C«; A Yes, it was.
21 Q Okay. Thank you. Were you ever in the
22 mill, aside from the time that you were a sweeper?
23 A No.
24 _ Q Do you remember having dust elsewhere

25 around the facility when you were driving the Lynn,
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 8 of 21

24

25

18

down on the’ ground there.

Q How close were you to the mill when you
were doing that job?

A I would stay right, probably about halfway
in the middle of that conveyor there. O£ course I
would have to walk back and forth.

Q Did you have to go into the mill at all?

A No, not then. .

Q Was the mill running when you were doing
that job?

A Yes, it was.

Q Do you remember seeing dust coming out of

the mill?

A Yes. There was some coming out of there.

Q Can you describe the dust. that you have
referred to?

A Well, it was just cloudy, more or less.

dust. like if you -- Like that one thing there -- ...

that's there, that's called a cyclone and it always
come out of the top of that.

Q Do you remember seeing dust settling
around places where you worked?

A Well, I really don't remember much about
that. That was too many years ago.

Q Do you remember why you left Zonolite the
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 9 of 21

24

25

21
one was wiped out by a train and they put another
one in. I don't know how many years ago that was.

Q Do you remember whether that was a dusty
job?
A Well, not on this side of the river it

wasn't. The 37 side wasn't too bad -- Well, there
wasn't really any ore down there at the time it was
being built. The ore went to town.

Q Why was it that you left Zonolite at the
second time?

A I got laid off, and I just never went
back.

Q When you were hired at Zonolite, did the
company warn you that exposure to the dust could be
harmful to you?

A No.

Q When you were hired, did the company warn
you that exposure to asbestos could be harmful to .. ..
you?

A No.

Q When you were hired, did any of the other
workers warn you about dust or asbestos?

A No.

Q Did you ever see any signs about the

hazards of asbestos or the dust?
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 10 of 21

24

25

22

A No, I didn’t.

Q Did your supervisors ever warn you that
the dust could harm you?

A No.

Q Do you remember other workers talking
about the dust when you worked there?

A Not really.

Q Do you remember whether any of the other

workers ever complained or did you ever complain to
supervisors about the dust?

A No.

Q Do you remember the supervisors telling
you anything about the dust?

A No.

Q Were you aware of what minerals were up
there when you were working at Zonolite?

A As far as I knew, it was just vermiculite.

Q Did you know that asbestos was present
when you worked there?

A No.

Q When you worked at Zonolite, were you
aware that other workers were getting sick from the
dust?

A No, not really. I heard of it afterward,

but I never paid much attention to it.
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 11 of 21

24

25

26

once in the afternoon. And during noon.

Q And did you do that?

A x did.

Q Did the company ever warn you after you
left Zonolite about the dangers of smoking?

A No,

Q After you left Zonolite that second time,
did you ever hear from the company again?

A No.

Q They never contacted you for anything?

A No, they haven't.

Q When do you remember beginning to have
serious breathing problems?

A Oh, I believe it was December of '95, I
was having ~- I think it was '95. Let's see now,
There’s where it's hazy. They told me I had it in
February of '96, but I think it was December that I
ended up in the hospital because I couldn't breathe.

Q What do you remember that took you to the
hospital because you couldn't breathe?

A I believe my son or my wife did. I can't
remember for sure.

Q Was there a specific instance that you
remembered that you had to go to the hospital for?

A Well, I can remember I was out trying to
Case 01-01139-AMC Doc 22814-19 Filed:08/14/09 Page 12 of 21

a7

1 shovel snow off -- it fell off of the garage, and

2 all of a sudden I just couldn't breathe any more.

3 So they took me to town and the doctor checked me

4 over and decided I should be in the hospital. And

5 he had x-rays taken and then he decided that he

6 should sent me to Obermiller in Kalispell, so I went
7 there in February of '96.

8 Q Do you remember having had breathing

9 problems before that incident?

10 A I didn't, no.

11 Q Do you remember your conversation with

12 Dr. oberm! Lex?

13. A Not too much, except he told me that I had
14 asbestosis, and that was the end of it as far as I
15 knew.

16 Q What's your understanding of

17 Dr. Obermiller's specialty?

18... A. AIL TI know is he's a lung specialist.

19 Q Do you recall the test that Dr. Obermiller
20 did on you?
21 A No, I don't.
22 Q What ig your understanding of what
23 asbestosis is?
24 A I really don't know. All I know is that

25 he's the one that told me I got it and others
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 13 of 21

28
1 that -- the only other way I know is I'm short of
2 wind half the time.
3 Q Do you have any understanding about what
4 the asbestos has done to your lungs? .
5 A Just let me run out of room, I guess, as
6 far as I can see or hear or -- the one in Spokane
7 telis me.
8 Q How does it’ feel when you --
9 LA That's what bothers nie most is I can't.
10 talk too much.
i1 Q Talking --
L2 A Gets me.
13 Q -- gets you short of breath?
14 A Uh-huh,
15 Q If we need to take a break and get a drink
16 of water --
17 A Let's get it over with.
18 2.2... «.Q Did you discuss your smoking..history with
19 Dr. Obermiller?
20 A No.
21 Q Did Dr. Obermiller say anything or agk you
22 about it?
23 A No, because I wasn't smoking at that time.
24 I quit in '86 and I never mentioned it with anybody.

25 Q Have you seen any other doctors? You
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 14 of 21

24

25

29

mentioned a trip to Spokane?

A I seen Whitehouse in Spokane.

Q Do you remember when that was?

A Let's see, I had the six month check-up
in May of this year, so -- Must have been around
October or -~ October somewhere -- September,
October of '98.

Q And have you seen him since October of
'98?

A Well, I seen him in May of this year.

Q What's your understanding of
Dr. Whitehouse's. specialty?

A As far as I know he's a lung specialist is
all I know about him.

Q Do you remember the kind of tests that you

underwent ?

A Yeah, they had a machine that -- or, a big

.isolation booth, I guess you'd call it,. and they put .

you in there and they shut the door and give you a
bunch of breathing tests. And then one of them they
cut off all my air and you're supposed to see how
long you live in there. I'm glad it was only a
second,

Q Do you recall the results of those tests?

A Well, he -- The last time I was there, he
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 15 of 21

24

25

30

just said that I lost -- in six months I had lost
300 percent of my breathing capacity -- well, CCs he
called it. That's what he said. Whatever that
means.

Q Do you understand whether.that's a severe
thing or whether that's normal?

A No, I don't.

Q Have you ever been exposed to asbestos in
any other job?

A Not that I know of.

Q Did you ever tell any of your doctors that
you had been exposed to asbestos?

A No.

Q Did any of your other doctors ever ask you
whether you had been exposed to asbestos?

A They just asked me where I worked, but I
don't know --
- . Q@.. .When they asked you that, did you tell ..
them that you worked around asbestos?

A I just told them I worked at Zonolite and
I didn't know I was working around asbestos.

Q What was your reaction when the doctors
told you that you had an asbestos disease?

A Well, not very good, I guess. I do know

what, I'm doing. Nobody else can do that except me.
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 16 of 21

24

25

32

Q What did you notice?

A That I was real short of breath. And I
had to go back on Prednisone, which I don't like to
do.

Q- What do you do now when you get short of
breath?

A Use my inhaler and go sit down awhile.

Q And that helps you?

A Yes. Take deep breaths. I can even do
that at night, though. Sometimes I wake up and I'm
kind of gasping, so I'll just lay there and take
deep breaths and it will finally go away.

. Q Did you discuss with your doctors the
future course of your disease?

A Not really. All I know is that Whitehouse
said I would eventually die from it, but then he
didn't say when or anything like that. So -- I just
live from day-to-day.

Q Do you understand or do you know, are
there any treatments that are available for you?

A Not that I know of, other than these
inhalers and the nebulizer, the machine that I got,
that I'm lucky enough not to have to use yet, fora
while.

Q Have you talked with your doctors about
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 17 of 21

24

25

37

since '44,

Q But there are no other medical conditions
that limit your activity?

A Not that I'm aware of.

Q What kinds of.activities these days make
you short of breath?

A Oh, going up stairs is one of them.
And if I walk too fast is another one.

Q What do you notice when you walk up
stairs?

A I just get short of breath is all.
Have to stop and catch it once in a while.

Q How many stairs can you walk up before you
get short of breath?

A Out home we only had about three steps,
but if I'd go up and down them too many times I
would get short winded. I would say about 10 or 12.

Q So about a flight?

A (Deponent nods head.}

Q How about other activities at home? Are
there things you do every day -- .

A I don't do anything now, because at home
there I had yard work all the time and lawn -- acre
of lawn to mow, and I done part of that with a

walking mower. And shoveling snow. Of course I
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 18 of 21

24

25

38

still shovel a little snow, but I just take my time.

Q All those things make you short of breath?

A Yes, if I do it too fast or -- The law
mowing -- Well, the place got too much for me to
handled, so I moved out.

Q What if you take your time, do you still
get short of breath?

A Well, once in'a while, but I just stop and
wait until it passes over.

Q You mentioned earlier that talking can
make you short of breath?

A Sometimes it does, yes.

Q When do you notice that that happens?

A Just like right now I can feel that it is
starting to get to me.

Q How about singing or yelling or anything?

A I don't sing.

Q Did you used to sing? -

A Oh, yes. I used to sing at church, but I
don’t anymore because I sing two or three words and
that's it.

Q The breathing gets you, is that what --

A Yeah. So I just keep quiet. And it looks
better and sounds better.

Q I do the same thing. It isn't a breathing
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 19 of 21

393
1 problem, but -- Are there activities that five years
2 ago you used to do then but you don't do anymore?
3 A Well, the family used to do a lot of ball
4 playing when we had picnics, but I don't think I
5 could do that anymore. But lately we haven't been
6 at any family picnics for a while.
7 . Q Have the things that you mentioned before,
8 about snow shoveling and yard work and things like
9 that, have they had a pretty big impact on your
10 life?
11 A Well, the yard work has. If can -~ I'll
12 still go out and try to shovel'a little bit of snow.
13 Or push it anyhow. That's what I got is a pusher.
14 Q Where do you live now?
15 A Park Apartments. 306 West Third.
16 Q Is that in town?
17 A Yes.
18 Qo How long have you lived there?
19 A A month, anyhow.
20 Q Where did you live before --
21 A A little over a month. I lived at
22 208 Granny Garden Road.
23 Q I'm going to hand you an exhibit, it's
24 614-1. That top photo there.

25 A That top photo is the back yard.
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 20 of 21

45

1 Q Did you used to ride your bike a lot?

2 A I rode it to work every day for many

3 years.

4 Q How about walking? Do you and your wife

5 go for walks --

6 A I've been doing that a little bit now, but
7 out there I didn't do too much of it because I

8 figured I done enough of that just working around

9 the yard. I've taken quite a few walks since I've
10 moved into town. Been real slow and not to far.

11 Maybe 10, 12 blocks.

12 Q How often do you have to stop, if you do,
13 for breathing?

14 A If I take it slow, I maybe only have to
15 stop once to rest. If I run into somebody, I gab a
16 little bit.

17 Q Do you ever get upset about your

18 condition?

19 A Sometimes.

20 Q What kinds of things upset you?
21 AB Just the idea that I can't do what I used
22 to do really upsets me.

23 Q Why do you feel you can't do them?

24 A There is not enough oxygen there, I guess,

25 most of the time.
Case 01-01139-AMC Doc 22814-19 Filed 08/14/09 Page 21 of 21

46

1 Q Are there still things you would like to

2 do?

3 A Yeah, I would like to get out and really

4 shovel snow and work the lawn mowers and especially
5 without a mask.

6 Q Do you ever still try to do some of those
7 things?

8 A Well, not this year IT haven't. Not since
9 probably about August anyhow.

10 Q Are you involved with any groups in the

11 community?

12 A Just Sons of Norway.

13 Q What kinds of things do you do with them?
14 A Well, about:all we do there is make lefsa
15 and Vikings and rosettes.

16 Q - Has that activity changed at all because
17 of your breathing problem?

18 A No, because I can make lefsa. sitting

19 down -- or, what Ido, I can. What the rest of them
20 do is different. But I just cook them, so I can put
21 a chair between two plates and that's the way I work
22 it. .
23 Q How would you describe your relationship
24 with your wife?

25 A Good.
